               UNITEDCase 16-21296-AJC
                     STATES  BANKRUPTCYDoc     54 Filed
                                            COURT,           08/09/17
                                                      SOUTHERN          Page OF
                                                                    DISTRICT    1 ofFLORIDA
                                                                                     1
                        CHAPTER 13 PLAN (Individual Adjustment of Debts)
                     # 1st Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: Gonzalo De La Torre Gil                    JOINT DEBTOR: Maria J. Rioseco CASE NO.:16-21296-AJC
Last Four Digits of SS# 7302                       Last Four Digits of SS# 4129

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for the period of       60       months. In the event the trustee does not collect
the full 10%, any portion not collected will be paid to creditors pro-rata under the plan:
         A.    $ 1,714.71          for months       1       to       12 ;
         B.    $     541.58        for months      13        to      60 ; in order to pay the following creditors:

Administrative:         Attorney's Fee - $3,500.+ 2,500.+750. + 300. Costs + 500.(Mod) =$7,550.00
                        Total Paid -    $ 2,100.00
                        Balance Due- $ 5,450.00          payable $ 410.42 /month (Months 1 to                            12 )
                                                                  $ 262.50 /month (Months 13 to                          14 )
Secured Creditors: [Retain Liens pursuant to 11 U.S.C. '1325 (a)(5)] Mortgage(s)/Liens on Real or Personal
Property:
1.    Nationstar Mortgage                         MMM Program – Denied
Address:    350 Highland Dr                       Payment   $1,169.07/month (Months 1 to 12 )
            Lewisville, TX 75067                  Payment   $    0.00/month (Months 13 to 60 )
Account No:    2728

2.   Chelsea Estates HOA
Address: Pob 961239                               Regular Payments:$ 67.59 /month (Months 1           to 12 )
           Miami, FL 33296                                         $ 89.36 /month (Months 13           to 60 )
Account No:     3248

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU
PURSUANT TO BR 7004 and LR 3015-3.
    Secured Creditor          Description of Collateral and      Interest       Plan     Months of Payment       Total Plan
                                  Value of Collateral              Rate       Payments                           Payments

                          Homestead property                     0.00%      $0.00          1    To    60     $0.00
 Chelsea Estates          located at
 HOA (2nd Mtg)
 Acct # xxxxx3248         6480 SW 159 PL
                          Miami, FL 33193
                          $286,377.00

Priority Creditors: [as defined in 11 U.S.C. '507]
1. Internal Revenue Service       Total Due $3,913.90
                                  Payable $      0.00         /month (Months 1       to 12 )
                                  Payable $ 81.54             /month (Months 13      to 60 )

Unsecured Creditors:    Pay $ 0.00 month (Months 1                  to 12 )
                        Pay $ 54.02 month (Months 13               to 14 )
                        Pay $ 316.52 month (Months 15              to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
Other Provisions Not Included Above: Debtors were denied TPP offer with Nationstar Mortgage LLC and creditor is now
outside the plan with consent to relief from stay.
.Chevrolet (2015 Chevy) lease is to be assumed. The debtor(s) is hereby advised that the Ch.13 trustee has requested that
the debtor comply with 521 (f) 1-4 on an annual basis during the pendency of this case. The debtor(s) hereby
acknowledges that the deadline for providing the Trustee with their filed tax returns is modified to be on or before May 15
each year the case is pending and that the debtor(s) shall provide the trustee with verification of their disposable income if
their gross household income increases by more than 3% over the previous years’ income.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
                    /s                                                                         /s
Debtor                                                                     Joint Debtor
Date:           8/9/2017                                                   Date:           8/9/2017
